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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

   ELIZABETH SINES, ET AL.,                              │
                                                         │
                   Plaintiffs,                           │
                                                         │
           v.                                            │ Civil Action No. 3:17-cv-00072
                                                         │
   JASON KESSLER, ET AL.,                                │
                                                         │
                   Defendants.                           │
                                                         │

   DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL, AND MICHAEL TUBBS’
                    PROPOSED JURY INSTRUCTIONS

           Defendants adopt the proposed instructions of Defendants Fields and Kessler in addition to the
   following proposed instructions:


                                          Instruction No. ___________

           The plaintiffs claim that the defendants entered into a conspiracy to commit racial violence. The
   law that plaintiffs have charged the defendants with violating is 42 U.S.C. § 1985(3).

          In order to prove their claim that the defendants conspired to commit racial violence, the plaintiffs
   must prove, by a preponderance or greater weight of the evidence, each of the following elements:

       1. that each of the defendants entered into a conspiracy,

       2. that each of the defendants were motivated by a specific class-based, invidiously discriminatory
          animus to

       3. deprive the plaintiffs of the equal enjoyment of rights secured by the law to all,

       4. and which conspiracy resulted in injury to the plaintiffs as

       5. a consequence of an overt act committed by a defendant in connection with the conspiracy.


   Authority:
   Simmons v. Poe, 47 F.3d 1370, 1376 (4th Cir.1995).




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                                           Instruction No. ___________

           A conspiracy is an agreement between two or more people. To prove a conspiracy, the plaintiffs
   must show that there was a single plan, the essential nature and general scope of which was known to
   each person who is to be held responsible for its consequences. The participants in the conspiracy must
   share the general conspiratorial objective.

   Authority:
   Simmons v. Poe, 47 F.3d 1370, 1376 (4th Cir.1995).




                                          Instruction No. ____________

           In determining whether the plaintiffs have proved the first element, namely that a conspiracy
   existed of which the defendants were members, you should first determine, according to the instructions I
   have just given you, whether the conspiracy existed. If you conclude that the conspiracy did exist, you
   should next determine whether each defendant was a knowing member of the conspiracy.

            Your determination whether each defendant knowingly joined the conspiracy must be based
   solely on the actions and words of each particular defendant. You should not consider what others may
   have said or done. The membership of each defendant in the conspiracy must be established by evidence
   of its own conduct – by what it said or did.

           In order to find that a defendant joined the conspiracy, you must find that it participated in the
   conspiracy and that it did so with knowledge of at least some of the conspiracy’s unlawful purposes.

            One may become a member of a conspiracy without full knowledge of all the details of the
   conspiracy. It is not necessary that a defendant be fully informed as to all the details of the conspiracy or
   its scope in order to be a member. However, a person who has no knowledge of a conspiracy, but who
   happens to act in a way which furthers some object or purpose of the conspiracy, is not a member of the
   conspiracy.

           On the other hand, knowledge of the existence of a conspiracy without participation in the
   conspiracy is also insufficient to make a person a member of the conspiracy.



   Authority
   Del Rio Distributing, Inc. v. Adolph Coors Co., 589 F.2d 176 (5th Cir. 1979), Mt. Hood Stages, Inc. v.
   The Greyhound Corp., 555 F.2d 687 (9th Cir. 1977), Pacific Coast Agricultural Export Ass’n v. Sunkist
   Growers, Inc., 526 F.2d 1196 (9th Cir. 1975).




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                                           Instruction No. ____________

           The fact that various persons engaged in similar conduct does not, in and of itself, establish the
   existence of a conspiracy. This is true even if they did so knowing that others were engaging in similar
   conduct.

           On the other hand, where it is a fact that similar conduct was engaged in by a number of persons,
   with each being aware that the other is doing so, that is an important piece of evidence which you should
   consider, along with the other evidence in the case, in determining whether an agreement existed.

          In determining whether to find an agreement, you should consider whether the different persons
   engaging in similar conduct did so because of their own independent judgement as to what was in their
   own best interest.


   Authority:
   Theatre Enterprises, Inc. v. Paramount Film Distributing Corp., 346 U.S. 537 (1954)




                                           Instruction No. ____________

            If the plaintiffs establish that defendants entered into a conspiracy or agreement to commit
   unlawful, racial violence, the plaintiffs must also prove, by a preponderance of evidence, that the
   defendants did so because the plaintiffs belonged to or were somehow associated with a group of people,
   here [identify the class], that the defendants disliked or hated. This discriminatory reason does not have to
   be the sole basis for the defendants’ dislike of the plaintiffs. As long as the dislike or hatred is not wholly
   political or personal, that is, as long as there is some intent to discriminate against [identify the class] as a
   class, the defendants can be found to have acted with sufficient discriminatory intent.

            Animus against the plaintiffs based on the plaintiffs’ political beliefs, is not sufficient. If you find
   that the defendants acted based on animus towards the plaintiffs wholly based on the plaintiffs’ political
   beliefs, you shall find the defendants not liable.

   Authority:
   United Bhd. of Carpenters & Joiners, Local 610 v. Scott, 463 U.S. 825, 836 (1983)




                                                                Respectfully submitted,

                                                                /s/ Bryan J. Jones____
                                                                Bryan J. Jones (VSB #87675)
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                                                       Counsel for Defendants Michael Hill,
                                                       Michael Tubbs, and League of the South

                                   CERTIFICATE OF SERVICE

           I certify the above was served on October 12, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Elliott Kline a/k/a Eli Mosley: eli.f.mosley@gmail.com & deplorabletruth@gmail.com
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